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 1          I, Jeremy Scheetz, state as follows:

 2                                                 Background

 3          1.      Since 2003, I have been employed by the Bureau of Alcohol, Tobacco, Firearms and

 4 Explosives (ATF). I was first hired as a Critical Information Specialist. In 2006, I transferred to the

 5 Intelligence Research Specialist (IRS) job series in the Office of Strategic Intelligence and Information

 6 (OSII). In 2014, I transitioned into the Intelligence Operations Specialist (IOS) job series within OSII. I

 7 am currently employed as an Intelligence Operations Specialist. My CV is attached as Exhibit 1 to this

 8 declaration.

 9          2.      Within ATF, the IOS position carries both analytical and operational responsibilities. As

10 an IOS, I analyze evidence seized during federal, state, and local investigations that involve a nexus to

11 ATF (such as violent crime, or firearms or explosives trafficking); provide intelligence to federal, state,

12 and local law enforcement officers; participate in investigations; debrief witnesses; and attend and

13 monitor relevant events.

14          3.      In 2006, I attended the 10-week DEA Basic Intelligence Research Specialist Academy in

15 Quantico, Virginia, where I learned the basics of criminal intelligence. The majority of my training has

16 been on-the-job: from 2006 to 2014, I was partnered with a more experienced Intelligence Operations

17 Specialist with whom I worked closely. From him, I learned how to interview witnesses; how to write

18 law enforcement reports; how to analyze evidence; how to work events; and how to work with law

19 enforcement officers from federal, state, and local agencies.

20          4.      Since 2006, my work has focused primarily on Outlaw Motorcycle Gangs (OMGs). An

21 OMG is a criminal organization whose members use their motorcycle clubs as criminal enterprises.

22 Historically, and as detailed below, members of OMGs have been responsible for drug and weapons

23 trafficking, extortion, and violent crime. In addition, many OMG members self-identify as “outlaws”

24 because their OMG does not belong to the American Motorcyclist Association. Law enforcement

25 officers investigate and monitor OMGs in part because of the historical and ongoing violence between

26 adversarial OMGs and between OMGs and civilians. Some of those violent incidents are documented

27 later in this affidavit.

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 1          5.     During my career with ATF, I have been involved in over 1,000 investigations into

 2 OMGs, motorcycle clubs, and supporters of OMGs in the United States, Canada, Asia, Australia,

 3 Europe, and Central and South America. During these investigations, I have been responsible for

 4 creating timelines and rosters, interviewing witnesses and confidential informants, conducting overt

 5 surveillance, analyzing seized documents, briefing investigative officers about OMGs, serving as a

 6 liaison between state and federal agencies, and helping prosecution teams prepare for trial. I have been

 7 provided with documents seized from OMG members and clubhouses across the world—including the

 8 Hells Angels. I have been provided with Hells Angels photographs, rulebooks, meeting minutes, rosters,

 9 internal communications, and histories. I have also become familiar with violent incidents across the

10 world involving the Hells Angels and other OMGs. Since 2006, I have communicated on daily basis

11 with other law enforcement officers involved in OMG investigations (including investigations into Hells

12 Angels members, prospects, hangarounds, and associates) around the world. They share information

13 about their investigations with me, and I evaluate how this information fits into other events involving

14 that OMG. They also share photographs of OMG members, including Hells Angels members, prospects,

15 and hangarounds, and we discuss the visual symbols (such as patches or tattoos) that the individual is

16 wearing. As described below, those symbols can commemorate a specific act that the individual has

17 committed and therefore can be of importance to law enforcement officers, special agents, and

18 intelligence components.

19          6.     Although each individual Hells Angels charter has a degree of autonomy, there are many

20 similarities among Hells Angels charters within the United States and across the world. In fact, the Hells

21 Angels display a greater degree of uniformity than other OMGs. Thus, the information I gather through

22 these exchanges with law enforcement officers, special agents, and intelligence components across the

23 world can often be applied to understand the actions of other Hells Angels members, prospects,

24 hangarounds, and associates in different geographic locations.

25          7.     In addition to participating in criminal investigations, I also develop intelligence about

26 OMGs and their supporters by attending and working OMG events, such as parties and runs. I have

27 attended hundreds of OMG events. Since 2008, I have worked the annual Hells Angels USA Run. Since

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 1 2006, I have worked the Sturgis Bike Rally; Myrtle Beach Bike Week; Virginia Beach Bike Week; and

 2 numerous other events sponsored by organizations including the Hells Angels, Pagan’s, Mongols,

 3 Outlaws, Bandidos, Iron Horsemen, and Wheels of Soul. I have attended over 50 events sponsored by

 4 the Hells Angels.

 5          8.     When monitoring OMG events, I assist local law enforcement officers in collecting and

 6 analyzing information about attendees, who are frequently members of OMGs. Before the events, I often

 7 brief law enforcement officers on the history of the OMG sponsoring the event, the OMG members they

 8 might interact with, and any recent acts of violence that the OMG has been involved in (either as victims

 9 or perpetrators). A common topic of briefing is whether there has been any recent violence between the

10 OMG and any adversarial OMGs in the area.

11          9.     During the events, I conduct overt surveillance by observing, identifying, and

12 photographing OMG members, prospects, hangarounds, and associates. During these events, I also

13 speak to OMG members, prospects, hangarounds, and associates. I look for new members and members

14 who may be wearing different insignias. Because of the length of time that I have been monitoring OMG

15 events, I can often spot new OMG members or members who are displaying new visual identifiers, such

16 as patches, tags, “flash,” pins, or tattoos. When I see an OMG member who is displaying new visual

17 identifiers, I try to determine what the identifiers may represent by speaking with law enforcement

18 officers from that member’s city. As explained in more detail below, those visual identifiers can often

19 represent a specific act that a member has committed for his organization.

20          10.    During OMG events, I also help staff the event’s command center, where I analyze

21 information being provided by other law enforcement officers conducting overt and covert surveillance,

22 such as photographs or investigative reports documenting the officers’ interactions with OMG members.

23 When law enforcement officers or special agents conduct enforcement actions—such as traffic stops or

24 intervening in violent altercations—they share the information they learn with me. For example, they

25 may report the names of those involved in the altercation, what the OMG members said when

26 interviewed, what weapons the OMG members may have been carrying, and what visual identifiers the

27 OMG members were wearing.

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 1          11.    During Hells Angels events, including the Hells Angels USA Runs, I also sometimes

 2 attend meetings with representatives of the Hells Angels and representatives from local law

 3 enforcement. At those meetings, I speak with Hells Angels members about their plans for the event.

 4          12.    I am often called upon by ATF for expert analysis. Since 2009, ATF Office of Strategic

 5 Intelligence and Information (OSII) has deemed me an expert on OMGs. In my capacity as an IOS, I

 6 routinely attend and conduct training at national and international conferences and symposiums about

 7 OMGs. Routinely, the topics include trends and patterns, OMG involvement in criminal investigations,

 8 OMG violence and patches/tags/tabs, OMG recruitment, OMG support clubs, OMGs and their spouses,

 9 and OMGs in the military. Often, former members of an OMG are present, and I have the opportunity to

10 informally debrief them. Through these conferences and symposiums, I also speak to OMG experts from

11 across the globe.

12          13.    I have been involved in investigations that led to the following federal prosecutions:

13         United States v. Lahey et al, 10-CR-765 (SDNY) and United States v. Ebeling et al, 10-CR-606
14          (EDNY): investigation into Pagan’s Motorcycle Club

15         United States v. Bifield et al, 12-CR-430 (DSC): investigation into Hells Angels Motorcycle
16          Club

17         United States v. Rosga et al, 10-CR-170 (EDVA): investigation into Mongols Motorcycle Club
18          and Outlaws Motorcycle Club.

19          14.    Through my involvement in these and other investigations, I have listened to jail calls

20 and wire intercepts, reviewed post-arrest statements, debriefed confidential informants, analyzed

21 evidence, and reviewed documents seized from members of OMGs. I also regularly review newspaper

22 articles related to OMG violence and OMG investigations, and I regularly speak with other law

23 enforcement officers about ongoing and completed OMG investigations across the world. Other law

24 enforcement officers share investigative reports and seized evidence with me, and update me on relevant

25 events involving OMGs. Between my work for investigations, and my participation in monitoring OMG

26 events, I have spoken with hundreds of OMG members, hangarounds, associates, and prospects.

27 Because I regularly attend Hells Angels events, I have spoken to hundreds of Hells Angels members,

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 1 prospects, hangarounds, and associates.

 2          15.    As a general matter, my opinions about the Hells Angels do not come from a single

 3 source, a single conversation with another law enforcement officers or Hells Angel member, a single

 4 document, or a single event. Instead, my opinions have been developed through my years of experience

 5 investigating, analyzing, and monitoring OMGs. When I learn new intelligence, my evaluation of the

 6 accuracy, meaning, significance of that intelligence is informed by my body of knowledge about the

 7 Hells Angels. For example, I have listed below a series of violent confrontations between members of

 8 the Hells Angels and other adversarial OMGs. Although I may have learned about the existence of a

 9 specific act of violence from monitoring an event, an ongoing investigation, or newspaper articles/police

10 reports, my opinion of what that act of violence means and why that act happened is based on my

11 knowledge of the Hells Angels. When I have conversations with other law enforcement officers and

12 intelligence assets about their investigations of the Hells Angels, I evaluate what they have learned

13 against the backdrop of what I know from other investigations. When I review internal Hells Angels

14 documents, I evaluate whether those documents are consistent with what I observe at Hells Angels

15 events, what I have learned from Hells Angels investigations, and what I know from my conversations

16 with witnesses and confidential informants.

17          16.    Based on my conversations with other law enforcement officers, special agents, and

18 intelligence components, including officers, special agents, and intelligence components who are experts

19 on OMGs such as the Hells Angels, I believe that other professionals develop their knowledge about the

20 Hells Angels the same way that I have: they review evidence from Hells Angels investigations and

21 prosecutions; read internal Hells Angels documents; read books authored by and about the Hells Angels;

22 speak with other investigating officers; and observe events happening in real time.

23          17.    Investigating one OMG is often a useful way to develop information about their

24 adversaries. There are several reasons for this. First, as explained below, sometimes violent acts by an

25 OMG appear to be in retaliation for a specific incident or territorial encroachment by an adversary.

26 Second, law enforcement officers, special agents, and intelligence components find it useful to compare

27 and contrast the practices of OMGs, including their recruitment processes, territorial expansion, or

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 1 involvement in recent criminal activity. Third, members of OMGs may know about the practices of their

 2 adversaries.

 3          18.     The subject of my declaration is Hells Angels symbols, terms, and territory. Because

 4 the history and structure of the Hells Angels is relevant to understanding the Hells Angels symbols,

 5 terms, and territory, I discuss those briefly as well.

 6                                             Hells Angels History

 7          19.     The OMG experience began in the United States in the 1940s, after the end of World War

 8 II. A segment of American veterans returned home and missed some of the aspects of the wartime

 9 military. They began riding motorcycles in groups to have the sense of adventure and camaraderie.

10          20.     The first charter of the Hells Angels Motorcycle Club (HAMC) was established on

11 March 17, 1948, in Fontana/San Bernardino, CA (Berdoo). In 1954, the HAMC San Francisco (Frisco)

12 Charter was formed, and in 1957, the HAMC Oakland Charter was formed. Under the direction of

13 Sonny Barger, these three HAMC charters, as well as Southern California (So Cal), formed the Hells

14 Angels Motorcycle Club in the late 1950s.

15          21.     I know about the history of the Hells Angels because it has been documented by the Hells

16 Angels in “The Definitive History: Evolution of the Hells Angels Motorcycle Club Insignia and

17 Corporation” (Exhibit 2) and on the Hells Angels website. The history of the Hells Angels has also been

18 documented by Sonny Barger (who, as a founding member, is one of the most famous Hells Angels) in

19 Hells Angel: The Life and Times of Sonny Barger and the Hells Angels Motorcycle Club (2001).

20                                      Hells Angels Structure and Rules

21          22.     The HAMC is a global organization. The Hells Angels Motorcycle Corporation (referred

22 to as World Corporation) is a non-profit organization that owns all HAMC-related trademarks and

23 intellectual property. The HAMC is managed by a Board of Directors who are elected by HAMC

24 members.

25          23.     The HAMC has a set of written rules called the HAMC World Rules. Exhibit 3.

26          24.     The HAMC World Rules are outlined into a bounded book and are distributed to each

27 HAMC charter worldwide. Each charter is issued a Rule Book with its number on it. The number

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 1 corresponds with the order in which the charter was established. For example, Berdoo is Number 1 and

 2 San Francisco is Number 2. Every five years, the book is updated.

 3          25.     The 2017 World Rules are broken up into 10 parts: “Constitutional Rules”; “Riding

 4 Rules”; “Prohibitive Rules”; “Standard Rules”; “Organizational Rules”; “Admission Rules”; “Voting

 5 Rules”; “Internet Rules”; “Corporation Rules”; and “Prospect Rules.” The 2017 World Rules also

 6 describe Hells Angels traditions, the Death Head patch, and the Hells Angels History.

 7          26.     According to the HAMC World Rules, “[t]he World Rules must always be followed, but

 8 any country, state or charter can make their own stricter rules.” Exhibit 3 at EXPERT-00000225. In

 9 other words, the HAMC World Rules provide for a degree of autonomy at local levels—and

10 particularly, at the charter level—even though they set out rules for the entire organization.

11          27.     Based on my involvement in Hells Angels investigations; conversations with other law

12 enforcement officers, special agents, and intelligence components; conversations with OMG members,

13 prospects, hangarounds, and associates; and observations from attending and monitoring OMG events, I

14 believe that the HAMC World Rules are generally followed by individual charters. (There are

15 exceptions, but to my knowledge, those exceptions are rare.)

16                                               HAMC Symbols

17          28.     Members of motorcycle clubs, including OMGs, frequently identify themselves through

18 wearing “patches” (or “rockers”) on their “cuts” (or vests). Taken together, a member’s patches are

19 referred to as his “colors.”

20 The Death Head

21          29.     The original patch worn by members of the HAMC designed in 1948 was a small design

22 with a skull, helmet and two wings for its membership’s insignia, nicknamed the bumblebee patch. It

23 consisted of a winged skull with an aviator’s cap that resembled a bumblebee.

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 1          30.    In 1948, the HAMC Berdoo members’ back patch consisted of an upper patch, or rocker,

 2 stating Hells Angels, the original winged skull in the center, and the word “Berdoo” in the bottom

 3 rocker. The selection of the colors red and white is from the World War II Hells Angels Third Present

 4 Squadron, which had a red-colored silhouette of a female with a halo and white wings.

 5          31.    In 1959, a detailed winged skull with an aviator’s cap became the HAMC back patch and

 6 was named the “Death Head.” While Barger was the president of the Oakland charter in 1959, he

 7 created a new “Death Head,” referred to as the Barger Larger Death Head design. It was larger than the

 8 original; it had a single wing and two sets of eight feather tips along the bottom.

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15          32.    In 1983, the “Fuki Death Head” was created to help eliminate the natural variations in

16 handmade patches. The new Death Head had 17 points along the bottom border, one more than the

17 Larger Barger Death Head.

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25          33.    In order to standardize the brand in the United States, the HAMC created the standard

26 back patch layout in 1983. During a world meeting in 1990, members decided that every member would

27 wear the same patch based on the 1983 patch layout version, along with the Fuki Death Head. The new

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 1 world patch was created on behalf of the HAMC of the United States, Inc., and the World Corporation

 2 owns all rights, title and interest of the patch. Only licensed vendors were permitted to create the

 3 embroidered patches. The Death Head’s mouth is stitched shut indicating, “We don’t discuss club

 4 business.”

 5          34.    I know about the history of the Hells Angels Death Head because it has been documented

 6 by the Hells Angels in “The Definitive History: Evolution of the Hells Angels Motorcycle Club Insignia

 7 and Corporation.” Exhibit 2.

 8          35.    I believe that the stitched-shut mouth means “We don’t discuss club business” because of

 9 the secrecy to which the Hells Angels try to adhere. The stitched-shut mouth is also consistent with the

10 Hells Angels rules, which condemn cooperation with law enforcement: “No undesiresables in the club!

11 For example: No snitches, junkies, cops or ex-cops, etc. Membership shall be limited to men who are

12 not and have never chosen to belong to, or worked with any law enforcement agency or authority which

13 has the power of arrest or incarceration.” Exhibit 3 at EXPERT-000000204. In addition, the World

14 Rules prohibit Hells Angels members from “put[ting] official World Run photos on internet sites” or

15 putting “party photos or pictures of Brothers on internet sites without those Brothers permission.”

16 Exhibit 3 at EXPERT-00000229.

17          36.    The meaning of the stitched-shut mouth is also consistent with the secrecy imposed by

18 some of the individual charter bylaws. For example, the Modesto charter rules say “no phones, tablets,

19 or any electronic devices in church” and that “[a]ll charter business will remain in the room and not

20 outside the charter-on the carpet.” Exhibit 4.

21          37.    In his book, Barger condemned cooperation with law enforcement in a chapter he titled

22 “Rats, Infil-traitors, and Government Informants.” He wrote: “[t]here’s nobody lower in this world than

23 someone who rats on our club . . . and that includes Anthony Tait.” Barger at 229. Consistent with this

24 statement, law enforcement officers, special agents, and intelligence components frequently discuss the

25 difficulty of cultivating sources within the Hells Angels.

26          38.    I also know of examples where Hells Angels members have committed violence against

27 witnesses or those that cooperate with law enforcement. In 2014, Adam Lee Hall (a member of the

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 1 Berkshire County Hells Angels) was sentenced to three life terms for kidnapping and murdering three

 2 men. One of the victims was scheduled to testify against Hall. WAMC, Mass. Man Gets 3 Life Terms in

 3 Triple Slaying, available at https://www.wamc.org/post/mass-man-gets-3-life-terms-triple-slaying (last

 4 accessed June 27, 2020).

 5          39.     The Death Head is central to the HAMC. Only a member can don the Death Head on his

 6 colors, soft colors, belt buckle, belts, t-shirts or any clothing. Hells Angels members are protective of the

 7 Hells Angels’ patch and Death Head, to extent that they are willing to engage in violence to assert

 8 ownership and control over these symbols. No charter, HAMC member or HAMC prospect is allowed to

 9 market anything bearing the names Hells Angels and/or Death Head logo without proper licensing by

10 the corporation. I know the Hells Angels’ licensing rules because their rulebook states that “[n]o HAMC

11 charter, HAMC Member, or HAMC Prospect be allowed to market anything bearing the name Hells

12 Angels and/or our Death Head logo without proper licensing by the corporation.” Exhibit 3 at EXPERT-

13 00000229.

14          40.     Within the OMG and motorcycle club underworld, the Death Head represents violence

15 and a mantra of living by a different set of rules and behaviors. The trademarked name Hells Angels

16 and Death Head logo demand respect from other OMGs, motorcycle clubs, and others. Anyone or

17 anything that opposes or disrespects a member or the colors is subject to the wrath of the HAMC,

18 including being subject to violence. Once a member receives his colors, he is accepted as a brother at

19 any HAMC charter across the globe. By placing the Death Head on his back, a member represents

20 approximately 5,000 members from across the world who share a common set of goals and traits.

21          41.     I believe that the Death Head is central to the HAMC because of the emphasis placed on

22 the Death Head by the Hells Angels.

23          42.     In their memoirs, former Hells Angels have explained the importance of the Death Head.

24 For example, George Wethern is the former Vice President of the Hells Angels Oakland chapter. In his

25 book Wethern wrote: “[R]espect for club property, namely anything bearing the death’s head or club

26 name, was a rigid tenet.” Wethern, A Wayward Angel: The Full Story of the Hells Angels 96 (2004).

27          43.     Barger wrote: “Patches do not belong to members; they belong to the club (now a

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 1 corporation). We’ve had a lot of problems with that distinction when informants and rats give over their

 2 patches to the cops . . . According to our bylaws, a patch remains club property, but we generally don’t

 3 get patches back from rats.” Barger at 43. Barger also wrote about an incident that shows the importance

 4 of the Hells Angels’ patch to the Hells Angels: “Around the same time there was another hassle between

 5 Oakland and another motorcycle club. We didn’t shoot or stab anybody, but anytime we saw any of their

 6 members, we’d fuck ‘em up, then cut their patches off with hunting knives. Snatching somebody else’s

 7 patch is a serious act of battle . . . Any Hell’s Angel forced to give up his patch without fighting for it is

 8 automatically voted out of the club.” Barger at 149.

 9           44.      The Hells Angels’ rules emphasize the importance of the Death Head. The World Rules

10 display the Death Head logo and make clear that the Hells Angels consider anything displaying the

11 Death Head to be the property of the organization as a whole. The World Rules contain the following

12 rules restricting the use of the Death Head:

13          “Only Hells Angels will possess Hells Angels paraphernalia. (No ex-Member or Prospect is
14           allowed to keep any type of Club property or indicia.)”

15          “No HAMC charter, HAMC Member, or HAMC Prospect be allowed to market anything
16           bearing the name Hells Angels and/or our Death Head logo without proper licensing by the

17           corporation.”

18          “ALL support gear (shirts, hats, rings, key chains, anything) MUST say ‘support’ with the
19           number 81 and must NOT have indicia that closely resembles our own (i.e. rockers, Death Heads

20           and layout).”

21          “Only Members can ride a motorcycle with Hells Angels insignia, except in extenuating
22           circumstances.”

23          “Prospects must not use the words Hells Angels or Death Heads on Christmas or Anniversary
24           card.”

25          “No charter or Member can use a Death Head on any public party flyer, memorial card, run
26           program or poster that is given away to the public or displayed in a manner that is obtained by

27           the public.”

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 1 Exhibit 3.

 2          45.    As described above, I have been to hundreds of events at which Hells Angels have been

 3 present and have viewed thousands of photographs of Hells Angels members. Every Hells Angels cut

 4 that I have seen displays the Death Head.

 5          46.    I also know the Hells Angels to act in other ways that demonstrate the importance of the

 6 Death Head. Some charters make their members sign Corporate Property Agreements. These agreements

 7 state that the Hells Angels mark and the Death Head logo belong solely to the Hells Angels Motorcycle

 8 Corporation, and that any items bearing the Hells Angels mark and the Death Head logo (including

 9 motorcycles and clothing) “are the sole and legal property of HAMC Corp.” Exhibit 5.

10          47.    Because the Hells Angels consider the Death Head to be the property of the Hells Angels,

11 non-members are not permitted display the design. This prohibition extends to tattoos. So, when a Hells

12 Angels member leaves the organization, he must generally cover up his Hells Angels tattoo or note

13 when he left the organization. This process is mandated by the World Rules: “The charter has to ensure

14 that the Out-persons tattoos are covered or removed.” Exhibit 3 at EXPERT-00000233.

15          48.    I know of at least one charter that required members to sign a consent form that

16 acknowledged that he was “no longer a member of HAMC, and as an ex-member . . . was not entitled to

17 wear or display any tattoos that would identify [him] as a member of HAMC.” Exhibit 6.

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 1          49.    I have viewed photographs of former HAMC members who have covered their Death

 2 Head or other Hells Angels tattoos (or have had their tattoos covered by others).

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 1          50.     I believe that the Death Head represents violence for several reasons. First, the Hells

 2 Angels have a long history of violence. Sonny Barger has described the violent culture of the Hells

 3 Angels in his autobiography. In Hells Angels: The Autobiography of Sonny Barger, Barger wrote:

 4          Fuck with a Hell’s Angel and if the guy doesn’t light you up, he could be tossed out of the
            club for not standing up for himself. No second chances. Members are routinely voted out
 5          of the club – and beaten up – if they don’t stand up for themselves. . . We take such a hard
            line because if a Hell’s Angel is out in public by himself and somebody insults him or rat-
 6          packs him, we expect him to stand up for himself (and the club’s reputation) and not just
            walk away. Light the guy up, fine. If you get beat up, you get beat up. But never take an
 7          insult. If the guy fucks you up, your friends can always return and rectify the situation.
            These rules apply all the times, whether you’re with other Hell’s Angels or on your own.
 8          If you can’t stand up for yourself in front of other members, how can we be sure you’ll
            stand up when you’re alone? Angels don’t like to make too many rules, but a few basics
 9          have kept the club in operation for over fifty years.

10 Barger at 71.

11          51.     Sonny Barger also described an incident where he and other Hells Angels beat members

12 of a different motorcycle club called the Unknown because an Unknown prospect stole his motorcycle:

13 “We rounded up everybody who was responsible, tied them up, and took them over to my house on Golf

14 Links Road. . . When we found the last guy the punishment began. One at a time we bullwhipped them

15 and beat them with spiked dog collars, broke their fingers with ball peen hammers. One of them

16 screamed at us, ‘Why don’t you just kill us and get it over with?’ . . . Moral of the story—don’t get

17 caught stealing a Hell’s Angel’s bike, especially if it’s the president’s.” Barger at 65.

18          52.     Barger’s descriptions are consistent with Hells Angels’ long-running and violent feuds

19 with other adversarial motorcycle gangs. Since the 1970s, the Hells Angels have been involved in a

20 series of violent confrontations with the Mongols Motorcycle Club. One of the most famous such

21 incidents was the “River Run Riot” in Laughlin, Nevada in which three people were killed. The Hells

22 Angels have also been involved in violent feuds with the Pagan’s Motorcycle Club, Outlaws Motorcycle

23 Club, and Bandidos Motorcycle Club. At OMG runs and events, law enforcement officers, special

24 agents, and intelligence components discuss recent violent acts between the OMGs in order to determine

25 the likelihood of violence at the event.

26          53.     The riot at Laughlin between the Hells Angels and the Mongols is famous within the

27 OMG community, particularly within the Hells Angels. Although Hells Angels were killed in the

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 1 fighting, it raised the profile of the club nationally, and it resulted in increased recruiting for new

 2 members. It demonstrated that the Hells Angels are willing to take action and engage in violence against

 3 their rivals. Raymond Foakes became famous as the Hells Angel who started the riot. Other Hells

 4 Angels admire him as someone who is a “real Hells Angel” in that he is willing to defend the Hells

 5 Angels colors and fight for the honor of the Hells Angels. I know this because I have watched the

 6 footage of the riot. I have spoken with a number of current and former Hells Angels members and

 7 associates about Laughlin and about Foakes, and I have discussed Laughlin and Foakes with many law

 8 enforcement officers, special agents, and intelligence components. In fact, Foakes’s role within the Hells

 9 Angels is so prominent that I have had a number of conversations about him, but I have never seen him

10 at any of the Hells Angels events and runs that I have attended. This is likely because he has been in

11 custody so frequently after 2009.

12          54.     The violence between the Hells Angels and adversarial motorcycle groups, particularly

13 on the East Coast and in Canada, was documented extensively by Yves Lavigne in Hells Angels: Three

14 Can Keep A Secret if Two Are Dead.

15          55.     I also know that the Hells Angels circulates a “Big House List” and a “Big House Crew”

16 newsletter that shows every Hells Angels member who has been incarcerated, and I have seen this list

17 among seized Hells Angels documents. Exhibit 7. This list also leads me to believe that Hells Angels

18 know that violence is part of their organization—many of the members on the Big House List were

19 incarcerated for acts of violence. Similarly, the Modesto charter’s rules provide for a “100$ a month

20 allowance for members or anyone with status incarcerated.” Exhibit 4. The Hells Angels frequently take

21 care of prospects and members who have been incarcerated. I believe that this is so that they have

22 reduced incentives to cooperate with law enforcement. I have spoken with Hells Angels members,

23 prospects, hangarounds, and associates about the Big House List, and the Hells Angels’ ability to take

24 care of those who are incarcerated. I have also spoken to members and associates of other OMGs, who

25 sometimes reference the Hells Angels as having a greater tendency to take care of their members and

26 prospects than their own organization.

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 1 The Four-Piece Back Patch

 2          56.     In the United States, HAMC members wear a four-piece back patch. The top rocker states

 3 “Hells Angels,” the center patch is the Death Head, the word “MC” is on the bottom right of the Death

 4 Head, and the bottom rocker is always the state. All 94 charters in the United States don a state on the

 5 bottom rocker.

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13          57.     I know about the appearance of the Hells Angels colors because I have attended hundreds

14 of events at which members of the Hells Angels have been present. I have also reviewed thousands of

15 photographs of Hells Angels members wearing their colors. The appearance of the Hells Angels back

16 patch is also mandated by the HAMC World Rules, which state that “[t]here will be nothing on the back

17 of the patch except the colors, which is HELLS ANGELS, DEATH HEAD, MC, and

18 COUNTRY/STATE/CHARTER.” Exhibit 3 at EXPERT-00000231. I am not aware of any instance in

19 the United States in which this rule was not followed. (I am aware of an exception to this rule in

20 Australia. At one time, the Australia charter wore a bottom rocker that said “Nomads.”)

21          58.     The “bottom rocker”—which is the state in the United States—represents territory that

22 the Hells Angels claim as their own. I believe that the bottom rocker refers to a claim of territory

23 because I am aware of violent confrontations that the Hells Angels have had with other adversarial

24 OMGs because the other OMG also tried to claim that territory through the bottom rocker.

25          59.     The best known example of this is the Hells Angels long-running feud with the Mongols.

26 By the mid-1970s, the HAMC was the dominant OMG in California, and HAMC claimed the sole right

27 to display the California bottom rocker. In their view, any other motorcycle club that wished to display

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 1 this territory on their own bottom rockers would have to obtain the permission of HAMC in order to do

 2 so. At the same time, however, the Vagos, Mongols, and an assortment of smaller OMGs and

 3 motorcycle clubs were vying for the right to wear the California bottom rocker.

 4          60.     By 1977, the Mongols had been warned on numerous occasions not to wear a three- piece

 5 patch with the California bottom rocker. On September 5, 1977, a pack of Mongols was returning home

 6 from a national run when two members and their spouses were shot off their motorcycles in San Diego

 7 County, California. Both Mongols were killed, and their spouses were wounded. During their funeral

 8 service on September 9, 1977, a vehicle parked near the mortuary building where the services were

 9 being held. The driver exited the vehicle, delivered a wreath of red and white colors, and then exited the

10 building. After he left the property, a car bomb detonated, causing no deaths, but people were injured

11 from the shrapnel. Four HAMC members pleaded guilty to racketeering for their role in the homicides

12 and bombing. Violence between the HAMC and the Mongols has continued, as both entities fought for

13 control over territory, particularly California. Exhibit 17.

14          61.     The feud between the Hells Angels and Mongols has also been described the same way—

15 specifically, becoming more violent due to the Mongols’ use of the California bottom rocker—by

16 members of the Mongols and the Hells Angels. Former Mongols International President Ruben “Doc”

17 Cavazos explained the feud worsened because of the Mongols’ use of the California bottom rocker in a

18 Gangland interview.1 Former Hells Angel George Christie described the same thing. Specifically,

19 Christie wrote: “A few months after the fight, the Mongols decided they were ready to challenge us.

20 Their leader informed us they too would soon be wearing the California state rocker—the patch we wore

21 to show our preeminence in the state. The outlaw world is all about respect and territory; this was clearly

22 a challenge that would have to be addressed.” George Christie, I was A Hells Angel for 40 Years. This is

23 the One Time I Doubted the Outlaw Lifestyle, available at https://narratively.com/i-was-a-hells-angel-

24 for-40-years-this-is-the-one-time-i-doubted-the-outlaw-lifestyle/ (last accessed June 27, 2020).

25          62.     The back-and-forth violence between the Mongols and Hells Angels has continued to the

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                 The interview is available on Youtube at
28 https://www.youtube.com/watch?v=8xlynByOB_4       (last accessed June 27, 2020).
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 1 present day. Because of this history, members of each organization can expect violence at the hands of

 2 the other—even if that person has not personally been around the other OMG. Members of each

 3 organization are also expected to be prepared to carry out violence against the other. This is evident

 4 from how long this feud has lasted, and how far geographically it has spanned. Even though the feud

 5 originated in California in the early-to-mid 1970s, there are still violent acts transpiring between the two

 6 OMGs across the United States and Europe. I believe there is no other way to explain the consistency

 7 and geographic and temporal scope of the violence involving members of the two OMGs, other than this

 8 historical feud.

 9          63.     HAMC members use their colors to intend to intimidate other OMGs and the public.

10 During runs, they travel as a group, often parading through the streets to demonstrate their territorial

11 control over a State, city or region. I have personally observed these “power runs.” In 2019, for example,

12 I saw a group of HAMC members, while wearing their colors, ride past a tattoo parlor owned a member

13 of the Mongols Motorcycle Club. Because of the long history of violence between the Hells Angels and

14 Mongols, I believe this run was intended to intimidate the Mongols member.

15 Tags

16          64.     In addition to the back patches, Hells Angels colors also feature patches on the front,

17 referred to as “tags” or “flash.”

18          65.     The Filthy Few tag means a member or prospect has committed an act of violence in

19 furtherance of the organization. To my knowledge, only violent acts result in a Filthy Few tag.

20 (However, there are Hells Angels members who wear the Filthy Few tag, flash, or tattoo, and I am

21 unaware of how they earned it.) If a prospect commits an act of violence, he must wait until he receives

22 his full patch to don the Filthy Few as a tag, flash, or tattoo. It can be awarded for committing a murder,

23 assault, or a beating. A member can wear the Filthy Few as a tag or side rocker. It can also be displayed

24 on the gas tank of a Filthy Few member. The killing or violent act has to be witnessed by another

25 member, and one can only receive the tag from another Filthy Few member. If you are a member of the

26 Filthy Few, you can be called upon to commit additional violent acts, which is depicted with “666” in

27 the middle.

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 1          66.     I know the Filthy Few tag exists because I’ve seen Hells Angels members wearing it. I

 2 know what the Filthy Few tag means because I’ve talked to other law enforcement officers, special

 3 agents, intelligence components, and sources of information about the meaning of the tag. For example,

 4 I have spoken with ATF Special Agent and former Outlaws member Daniel Ozbolt about the meaning of

 5 the Filthy Few patch. As an ATF Special Agent, Ozbolt infiltrated both the Mongols and the Outlaws.

 6 What he told me—that the tag means that a member or prospect has committed an act of violence in

 7 furtherance of the club—matches what I’ve observed. Specifically, I’ve observed former HAMC

 8 member Ray Dwyer with the Filthy Few tag, and I know that Dwyer committed acts of violence during

 9 the Hellraisers Ball Brawl in 2002. Dwyer fired into a crowd during the brawl and was first charged with

10 murder, but later pled guilty to a weapons possession charge. New York Times, Murder Charges Are

11 Dropped in Motorcycle Gang Fight, available at

12 https://www.nytimes.com/2002/09/20/nyregion/murder-charges-are-dropped-in-motorcycle-gang-

13 fight.html (last accessed June 29, 2020). I have seen photographs of Dwyer prior to 2002 during which

14 he was not wearing the Filthy Few tag. Therefore, I believe he earned the Filthy Few tag for his role in

15 the Hellraisers Ball Brawl.

16          67.     In addition, I’ve also observed former HAMC member Milo Campbell wearing the

17 Filthy Few tag, and I know that Campbell committed acts of violence during the 2008 Sturgis

18 Motorcycle Rally, when he got into a fight with members of the Iron Pigs Motorcycle Club. Exhibit 8.

19 Thus, I believe that he earned the Filthy Few tag for his role in the fight during the 2008 Sturgis

20 Motorcycle Rally.

21          68.     The Filthy Few tag was described the same way in Three Can Keep A Secret if Two are

22 Dead by Yves Lavigne. In describing a series of violent acts between the Hells Angels and Outlaws in

23 Canada, Lavigne reported that the Filthy Few status meant the member had shown “a display of

24 courage.” Lavigne at 334. Lavigne reported that John Miller, a member of the Bridgeport, Connecticut

25 Hells Angels, was responsible for issuing Filthy Few patches in the early 1980s and said: “I’d keep a

26 stack of Filthy Few patches for the crazy Canadians. They’d come down here and tell us how many

27 Outlaws they killed. ‘I killed an Outlaw. Give me a Filthy Few patch.’”

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 1          69.    The Filthy Few tag is also consistent with the Hells Angels’ violent culture, as described

 2 above.

 3          70.    The Dequaillo tag means a member assaulted a law enforcement entity (on or off duty),

 4 someone who has arrest powers (such as military police or park ranger), or a member of a law

 5 enforcement motorcycle club. For example, if a member resists arrest or assaults a member of law

 6 enforcement in a drinking establishment, he is bestowed a Dequaillo tag. Similar to the Filthy Few tag,

 7 the act must be witnessed by a fellow HAMC member of prospect.

 8          71.    I know what the Dequaillo tag means because I’ve talked to other law enforcement

 9 officers and confidential informants about the meaning of the tag. What they’ve told me—that the tag

10 means that an HAMC member assaulted a law enforcement officer—matches what I’ve observed.

11 Specifically, I’ve observed former HAMC member Milo Campbell wearing the Dequaillo tag, and I

12 know that Campbell committed acts of violence during the 2008 Sturgis Motorcycle Rally, when he got

13 into a fight with members of the Iron Pigs Motorcycle Club. The Iron Pigs Motorcycle Club’s

14 membership includes a number of law enforcement officers, prison guards, and firefighters. Exhibit 8.

15 I have seen photographs of Campbell prior to 2008 during which he was not wearing the Dequaillo tag.

16 Thus, I have concluded that he earned the Dequaillo tag for his role in the fight during the 2008 Sturgis

17 Motorcycle Rally.

18          72.    This meaning of the Dequaillo tag is also consistent with what I know about Hells Angels

19 members Michael Garner, Timothy Moore, William Italiano, Guide Venezia, Mark Guardado Sr., Mark

20 McKenna, Ed Shaunessy, and James Costin. I have viewed photographs of them wearing the Dequallo

21 tag, and I know that they were involved in a riot at Laconia Bicycle Week in June 1998 in which several

22 police officers were assaulted. Bangor Daily News, 3 Maine Hell’s Angels sentenced in rioting,

23 available at https://archive.bangordailynews.com/1999/05/19/3-maine-hells-angels-sentenced-in-rioting/

24 (last accessed June 27, 2020).

25          73.    The Purple Heart pin is awarded to any member who has given his blood in the defense

26 and honor of the HAMC. It also means a conflict resulting in injury by a weapon. The Purple Heart pin

27 is another avenue for a member to display his propensity to be involved in a violent conflict in

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 1 furtherance of the HAMC, even if he is stabbed, shot or brutally assaulted.

 2          74.     I know that the “Purple Heart” pin exists because I have seen it on a number of Hells

 3 Angels at events. I have also seen Purple Hearts displayed as tattoos. I know what the pin means because

 4 I have reviewed a flyer created by the Oakland chapter of the Hells Angels, which states that “any

 5 member who has earned the Deathhead Purple Heart has given his blood, in the defense and honor of the

 6 Hells Angels Motorcycle Club and shall forever be revered by his fellow members.” Exhibit 9.

 7          75.     There are other tags that are used by various charters as well, including tags denoting the

 8 specific charter to which the member belongs within the territory claimed through the back bottom

 9 rocker, and tags indicating status as an officer within that charter.

10                                              Hells Angels Terms

11          76.     Charter: The basic organizational unit of the HAMC is the charter, which is operated

12 out of a city or county. All charters report to the higher levels of the organization at the regional,

13 national, and world level. This formula is present across the globe. In the United States, there are 99

14 charters, which are divided into two executive groups: the West Coast and East Coast. The West Coast

15 is composed of all charters west of Denver, Colorado. The East Coast is composed of all charters east of

16 Omaha, Nebraska.

17          77.      Once a group becomes an official charter, they receive a certificate from World

18 Corporation, and they agree to abide by the bylaws, rules and regulations of the HAMC. Exhibit 10.

19          78.     HAMC charters have a vertical structure. Although each member is able to vote on

20 charter decisions, each charter also has its own executive committee, which is usually elected once a

21 year by a majority of votes of full-patch members. A typical Hells Angels charter includes a minimum

22 of six full-patch members. All members have a say in club-related decisions through a vote in a one-

23 man-one-vote system; however, due to the hierarchical nature of this organization, the president has the

24 final say with his veto powers.

25          79.      According to the Hells Angels World Rules, six members are required for the charter to

26 operate and remain functional. Exhibit 2. However, I am aware of exceptions to this rule. In 1994, the

27 Hells Angels from South Africa split the Johannesburg charter and formed the West Rand charter with

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 1 less than six members.

 2          80.      The World Rules also set forth the “one man one vote” system. Exhibit 3.

 3          81.      Charters act relatively autonomously in their day-to-day activities. They have their own

 4 rules, although those rules cannot supersede state, country, or world rules.

 5          82.     I have seen many versions of individual charter bylaws. The bylaws regulate different

 6 topics, which reinforces my belief that charter autonomy exists. For example, the HAMC Berdoo,

 7 HAMC Modesto, and HAMC Fresno bylaws all set out different rules and establish different fines for

 8 violating those rules.

 9          83.     In addition, the Hells Angels World Rules repeatedly reference charter autonomy:

10 “[c]harter autonomy is a basic right but cannot supersede any World Rule,” Exhibit 2 at EXPERT-

11 00000227; “[a]ll countries have charter autonomy concerning riding rules and motorcycling”; “[c]harter

12 autonomy decides if a person is LEFT.” Exhibit 3 at EXPERT-00000232.

13          84.     Consistent with the rules, I have also observed that there are differences in how charters

14 operate. Some of those differences appear in how charters present themselves visually. Some charters

15 wear nothing on the front of their vests; other charters have patches on the front of their vests. Some

16 differences also exist in how charters govern themselves. For instance, I know that the Cleveland Hells

17 Angels charter elects a new president every year, whereas other charters may keep the same president

18 for many years.

19          85.     At the same time, there are also significant similarities between charters, and my

20 experience leads me to conclude that the charters believe themselves bound together as part of a single

21 organization with the same values and culture. Some of those similarities are apparent from the Hells

22 Angels symbols and terms. For example, the World Rules specify that all Hells Angels members must

23 wear the same “computer design style patch,” and “[t]here will be nothing on the back of the patch

24 except the colors, which is HELLS ANGELS, DEATH HEAD, MC, and

25 COUNTRY/STATE/CHARTER.” Exhibit 3 at EXPERT-00000231. At the events I have worked, I have

26 never seen any Hells Angel depart from these conventions mandated by the World Rules. (I am aware of

27 other examples of noncompliance with the World Rules, but to my knowledge, these examples are rare.)

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 1          86.     In addition, the World Rules say that “[a]ll Members and Prospects must ride a

 2 motorcycle no less than 750 cubic centimeters.” Exhibit 3 at EXPERT-00000227. I have attended

 3 hundreds of events where Hells Angels were present, and I have never known a Hells Angel Member or

 4 Prospect to ride a smaller motorcycle.

 5          87.     In addition, the World Rules say that “[i]f a member is OUT, the charter he used to

 6 belong to must send a recent picture of him to all World Charters.” Exhibit 3 at EXPERT-00000231. I

 7 have reviewed “Out” slips that list members who are “Out” of the club from at least twenty charters.

 8 I’ve included a few examples as Exhibit 11. Individual charters also send prospects’ information to the

 9 entire organization. The fact that Hells Angels charters send “prospect” and “out” information to all

10 other charters also suggests that individual charters believe themselves to be part of a single

11 organization—they are informing the rest of the organization of charter-level decisions. Moreover, the

12 “Big House List” includes incarcerated members from all charters, which further shows that the charters

13 believe they share a common interest—supporting incarcerated Hells Angels, regardless of the specific

14 charter to which they belong.

15          88.     I believe that charters are bound by decisions made at the higher levels of the HAMC

16 organization because I have reviewed minutes of World Meetings, East Coast Officers Meetings and

17 West Coast Officers Meetings, and have seen evidence of such decisions. For example, during the June

18 2007 West Coast Officers’ Meeting, the Sonoma County charter submitted a motion (seconded by the

19 Frisco Charter), to expel most of the Shasta County charter members from the club. The July 2007 West

20 Coast Officers’ Meeting minutes note that the Shasta County charter was subsequently “frozen.” Exhibit

21 20. Therefore, I believe that this episode shows that the West Coast controlled the existence of the

22 Shasta County charter.

23          89.     I believe that the Hells Angels history of violent conflicts with adversarial OMGs also

24 show that individual charters believe themselves to be part of a single organization. Members of charters

25 carry out violent acts against adversaries that span time and geography, and those violent acts sometimes

26 have no apparent triggering event other than the existence of a historical rivalry. When debriefing

27 former or current Hells Angels members, I frequently speak to them about these traditional rivalries.

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 1 They are aware of who their rivals are and the history of violence between the organizations. Hells

 2 Angels members consider OMGs who do not have a presence in the area of their own charter to be rivals

 3 if that OMG is a rival of charters in other geographic areas. For example, on August 8, 2006, two Hells

 4 Angels named Chad Wilson and John Midmore shot at five Outlaw members and associates during the

 5 annual Sturgis Bike Rally. Both Wilson and Midmore are from areas where the Outlaws have a

 6 minimal-to-no presence. However, the Hells Angels and Outlaws have been involved in a long-standing

 7 feud since 1974. Several months before the Sturgis shooting, Hells Angels Bridgeport President Roger

 8 Mariani was shot by a member of the Outlaws. I am not aware of any reason for the Sturgis shooting

 9 other than the historical feud between the Hells Angels and the Outlaws.

10          90.     As described below, the Hells Angels have expanded throughout the United States. I

11 believe that Hells Angels charters are strategically established to fend off expansion by an adversary or

12 demonstrate control over an area. In his book, Wethern wrote that: “We didn’t believe in granting

13 chapters for the sake of growth, nor to provide us with a place to stay when we were on vacation. The

14 additions were designed to contribute to our image and business concerns, by providing a drug route

15 link, manufacturing a drug, supplying chemicals or distributing drugs in an untapped area.” Wethern at

16 90. Barger described the value of expansion in similarly strategic terms: “Early on, we decided if we

17 were all going to wear the same patch, we were all going to function under the same rules. To shore up

18 our territory fast, we made up tactical rules early on.” Barger at 32.

19          91.     Werthern’s statements are consistent with what I have observed. I have observed Hells

20 Angels’ charters opening up in the area of traditionally adversarial OMGs, and believe that those

21 charters were established to limit the reach of those adversaries. For example, the Hells Angels

22 established Nomads charters in Michigan in 2020 and Virginia in 2010. Those two areas had a

23 significant Outlaws and Pagan’s presence at those times. (The Outlaws and Pagan’s are historical

24 adversaries of the Hells Angels.) The Hells Angels also recently opened up new charters in Maryland

25 and New Jersey, in areas that have a significant Pagan’s presence.

26          92.     After the Hells Angels established a Nomads charter in Virginia in 2010, there was

27 violence between the Pagan’s, Outlaws, and Hells Angels. ATF undercover officers embedded with the

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 1 Outlaws were involved in an altercation with members of the Hells Angels support club. I believe that

 2 this fight occurred because the Pagan’s/Outlaws considered that area of Virginia to be their territory and

 3 wanted to prevent the Hells Angels from moving in. Exhibit 12.

 4          93.     Charters are required to have a clubhouse, which must have a working telephone or form

 5 of communication, to include a functional email account. If they do not have a functional email address,

 6 they are fined for non-compliance. Additionally, operation of any HAMC Website will be the

 7 responsibility of the respective HAMC charter, financially, for content and compliance with the HAMC

 8 Internet rules. Charters are allowed to establish and maintain a website, but it must be done in the

 9 charter’s best interest. All charter websites are strictly monitored by the HAMC Webmaster. Exhibit 3.

10          94.     The HAMC adopts strict security measures at its clubhouses in the United States to fend

11 off an adversary or intrusion by law enforcement. Cameras are strategically placed to monitor day-to-

12 day foot traffic or intrusion by an unwarranted guest, adversary or law enforcement. Many of their doors

13 and windows are fortified. Often, firearms are easily accessible, as well as an assortment of knives and

14 weapons such as ball peen hammers, ax handles, or bats.

15          95.     In Three Can Keep a Secret, Yves Lavigne described HAMC clubhouses the following

16 way: “The Hell’s Angels learn through experience that a club house is useless against police or enemy

17 biker raids if it isn’t heavily fortified. Doors and windows are reinforced with steel plates and shutters or

18 mesh. Many properties—like the clubhouses in Durham, North Carolina, Charleston, South Carolina,

19 and Bridgeport, Connecticut—are surrounded by a chainlink fence topped with barbed wire. Some clubs

20 have cinderblock walls with gunports inside the fence.” Lavaigne at 311.

21          96.     I have been inside HAMC clubhouses in Vallejo, Denver, and Australia, and viewed the

22 security arrangements in those clubhouses. For example, the Vallejo clubhouse has doors fortified with

23 metal bars and security cameras placed all along the property. I have also viewed photographs of a

24 number of other clubhouses, and viewed photographs of readily-accessible weapons just inside the

25 doorway to those clubhouses. The photograph below was taken during the execution of a search warrant

26 at the San Diego clubhouse. These guns were seized from a container next to the front door.

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 9          97.     Charters make money in a variety of ways. Primarily, an HAMC charter sells its indicia

10 at local swap meets, motorcycle shows, tattoo conventions, charity runs, and support club functions, as

11 well as at local motorcycle shops/businesses. Some profit from the sales on indicia, such as calendars,

12 goes to the HAMC Corporation.

13          98.     Church. Each charter conducts regularly scheduled weekly meetings, referred to as

14 “church.” Strict rules of order are followed, and minutes are taken. These meetings generally take place

15 at the charter’s clubhouse, and attendance at the meeting is primarily restricted to members. Charter

16 meetings mostly concern legitimate activities, such as planning social events, voting in new members,

17 etc. Additionally, charter meetings often involve the discussion of criminal activities – for example,

18 encouraging assault and/or retaliation. If questions concerning criminal activities arise, the utmost

19 security to prevent detection is used. However, they will openly discuss at their meeting if a motorcycle

20 club, support club or adversary is moving into a region or State without permission.

21          99.     During church, members and prospects are often brought up for membership vote or

22 disciplinary actions. Disciplinary actions can be taken for breaking rules, bringing unwarranted law

23 enforcement scrutiny on the HAMC, or not defending the patch in a fight.

24          100.    I have viewed charter rules that require members to attend church. For example, the

25 Fresno County bylaws require members to attend weekly meetings, with a missed meeting punished

26 with a fine of $25. Exhibit 13. Likewise, the Modesto Bylaws state that “a member must be notified if

27 going to be late to church. If not, a fine will be issued.” Exhibit 4. The Modesto bylaws also suggest that

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 1 church business should remain secret: they say “no phones, tablets, or any electronic devices in church”

 2 and that “[a]ll charter business will remain in the room and not outside the charter- on the carpet.”

 3 Exhibit 4.

 4          101.    I have talked to law enforcement officers, special agents, and intelligence components

 5 about “church.” Every charter that I’m aware of holds regular meetings and generally, local law

 6 enforcement officers know when a particular charter is holding church.

 7          102.    Nomads. The HAMC also has charters referred to as Nomads charters. A Nomads

 8 charter generally does not have a specific location to conduct its criminal activity. Traditionally,

 9 Nomads charters do not have clubhouses, as the members within the charter are mobile. In the United

10 States, only one Nomads charter is permitted in each State.

11          103.    Full-patch members, hangarounds, and prospects: People associated with the Hells

12 Angels are known as hangarounds, prospects, and full-patch members.

13          104.    The HAMC has a hierarchical structure, within which individuals hold official positions.

14 First, in order to enter the pipeline to become a member, a member must sponsor a candidate, who is

15 also responsible for the candidate’s behavior. All candidates must furnish personal information to the

16 club, indicating such items as family names, bank information, address, next of kin, spouse, criminal

17 history, and employment. Photographs of the candidate are shared via email to all charters in the United

18 States. Exhibit 14. If there are no negative responses on the candidate, then he can proceed. After a

19 lengthy, phased process, a prospective member is first deemed to be a “Hangaround,” indicating the

20 individual is invited to some club events or to meet club members at known gathering places. At the end

21 of that stage, he is elevated to the position of “Prospect,” participating in some club activities, but not

22 having voting privileges, while he is evaluated for suitability as a full member. The last phase, and

23 highest membership status, is “Full Membership” or “Full Patch.” As explained above, the term full

24 patch refers to the complete four-piece crest, including the Death Head logo, two rockers (top rocker:

25 “Hells Angels”; bottom rocker: State or territory claimed), and the rectangular “MC” patch below the

26 wing of the Death Head. In the United States, prospects only wear a bottom rocker with the State.

27          105.    Hangaround. This term refers to the first phase of HAMC membership. This status

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 1 indicates that the individual is invited to some club events or to meet club members at known gathering

 2 places. The “hangaround” does not wear colors. However, a “hangaround” will wear a black and white,

 3 or a red and white sponsoring charter patch on the front left breast of his vest. He cannot attend

 4 meetings, but guards the surroundings of these meetings to ensure the safety of members attending. The

 5 “hangaround” is entirely subservient to all full-fledged members of the charter, including the prospects,

 6 and must accomplish what he is ordered. A hangaround who is being considered for potential

 7 membership must be sponsored by a full patch member. All candidates must furnish personal

 8 information to the club, indicating such items as family names, bank information, address, next of kin,

 9 spouse, criminal history, employment, etc. Photographs of the candidate are shared via email to all

10 charters in the United States. If there are no negative responses on the candidate, then he can proceed.

11 The requirements to become a member include possessing a valid driver’s license and having a road-

12 worthy Harley Davidson motorcycle. The prospective member cannot be a child molester or have

13 applied to become a police officer or prison guard. If the prospect took a police test, that is grounds to

14 omit him as a member. (The Hells Angels rules also used to expressly prohibit Black Americans from

15 joining the club. That rule has been removed. However, I am not aware of any current Hells Angels

16 members, prospects, or hangarounds who are Black.)

17          106.    Prospect. The “prospect” a step closer to full membership in HAMC. A person is

18 elevated in status from a hang-around as he gains the confidence of all color-wearing members of the

19 charter. He has demonstrated loyalty and ability to carry out and obey orders, but he is still in a prospect

20 period as the charter considers him for full membership. He is more closely associated with the HAMC

21 charter than hangarounds or members of the public, but he cannot vote or attend meetings. Prospects can

22 wear the lower rocker showing the club territory and the “MC” badge on the back of his vest. Because

23 they are not Hells Angels members, however, prospects cannot wear the “Hells Angels” or the Death

24 Head patches. Prospects also wear a “prospect” and “charter” badge on the front left side of his vest. The

25 prospect period can last 1 to 2 years, depending on the personality of the individual and his ability to

26 perform club functions, but it is at least a year-long term. A prospect has to receive unanimous approval

27 in a vote by members of the charter in order to become a full member. Prospects are required to pay club

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 1 dues and contribute to the defense fund.

 2          107.    Full Patch Member. After a full year as a prospect and after receiving the unanimous

 3 support of the charter, the prospect is finally accepted as a full-patch member. When a member has

 4 proven his loyalty to the club, he receives his colors bearing the club insignias and is accepted by all

 5 HAMC members around the world. Becoming a member can also be referred to as being “patched.” The

 6 term “full patch” refers to the complete four-piece crest, including the “Death Head” logo, two rockers

 7 (top rocker: “Hells Angels”; bottom rocker: State or territory claimed), and the rectangular “MC” patch

 8 below the wing of the Death Head. Full-patch members are required to pay club dues and contribute to

 9 the established legal defense fund. Each individual charter specifies the amount paid for club dues.

10          108.    Many of the World Rules address membership, as well as the separation between

11 hangarounds, prospects, and full-patch members. The World Rules say that no “undesirables” are

12 allowed in the club, and provides several examples: “no snitches, junkies, cops or ex-cops, etc” and that

13 “[m]embership call be limited to men who are not and have never chosen to belong.” Exhibit 2. The

14 World Rules also make clear that prospects and hangarounds are not permitted to wear any Hells Angels

15 logos or the Death Head: “[p]rospects cannot wear anything but what they are officially issued as

16 Prospects. PROSPECT and CHARTER tags on left breast with the PROSPECT tag above the

17 CHARTER tag. Bottom rocker with CITY, STATE, or COUNTRY. MC tag on top right of bottom

18 rocker.” Exhibit 3.

19          109.    The World Prospect By-laws also demonstrate a prospect’s subservient position (relative

20 to full-patch members) within the club. Exhibit 16. The bylaws state that prospects and prospect clubs

21 are not allowed to be on official HA club photos, and must ride at the rear of the pack on runs. Prospects

22 are also not allowed to become drunk or stoned at parties, runs or meetings, and cannot wear any

23 clothing with the words Hells Angels or HAMC on them. Exhibit 16. Likewise, individual charters have

24 also put forth similar rules. The Fresno County bylaws state that “officers will ride in front of the

25 motorcycle pack,” with “members behind officers, prospects behind members, hangaround behind

26 prospects, friends and others behind hangaround.” Exhibit 13.

27          110.    I have been able to observe the interactions between prospects and hangarounds and full

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 1 patch members at many Hells Angels events. Consistent with the rules, I have seen hangarounds

 2 wearing “Support 81” shirts, but not any articles of clothing with the words “Hells Angels” or the Death

 3 Head logo. Prospects are recognizable at Hells Angels events because they wear vests that contain only

 4 the state bottom rocker and the word “MC.” Like hangarounds, they also do not wear any items of

 5 clothing that use “Hells Angels” or the Death Head logo. I have observed hangarounds and prospects

 6 running errands for Hells Angels members, providing security at events, and guarding motorcycles.

 7          111.    Tattoos. A majority of new members get an HAMC tattoo as soon as they attain full

 8 membership. Some charters require a new member to have it within one week of earning their patch or

 9 one year from the date of full patch. It is rare that a member will not have at least one HAMC tattoo on

10 his body.

11          112.    I know that a majority of members get an HAMC tattoo from my observation of Hells

12 Angels at the events described above. I also know that some charters require new members to get a

13 tattoo: the Fresno County bylaws state that “[a] new member will get a club tattoo within a 30 day

14 period.” Exhibit 13.

15          113.    Left and Out: There are only two ways to leave the HAMC, Left or Out. “Left” means

16 the member left on good standing and is required to have an out date, the date he quit the HAMC, next

17 to or near his HAMC tattoo. “Out” means the member was thrown out of the HAMC and is required to

18 cover up his HAMC tattoos. The tattoo can be covered by another tattoo, blacked out or crossed out.

19 When a member is thrown out of the HAMC, the method of covering up the tattoo is based on the

20 circumstance and/or charter. Often, the member is physically restrained and his tattoo is covered up or

21 removed altogether. This can also be accompanied by assault. It is not uncommon for a former

22 member’s residence to be ransacked after his tattoo has been covered up or blacked out—depending on

23 the charter and severity of his expulsion. A person removed in this way is considered to be in bad

24 standing with HAMC.

25          114.    I have reviewed a document titled “Analysis on how to use Left and Out” which was

26 “made by a European Working Group.” Exhibit 15. The document defines “LEFT” as a person who

27 “leaves the club for different personal reasons, or his is told to leave the club or he will be thrown out.”

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 1 This person is “okay with the club” and can “talk and socialize with him, as they like.” The former

 2 member “should write Left and the date in an obvious way near his tattoos, give back his Hells Angels

 3 paraphernalia and respect the club and its rules after leaving.” Exhibit 15. The document defines “Out”

 4 as “[t]he person is thrown out of the club and no one wants to see him again.” He “will have to cover up

 5 his tattoos and stay out of sight.” “Nobody can have any kind of contact with him unless his former

 6 charter gives permission, or a majority of his country wants to investigate the matter of his dismissal.”

 7 Exhibit 15.

 8          115.   The HAMC World Rules use the words “left” and “out” consistently with the above. The

 9 rules state that “[c]harter autonomy decides if a person is LEFT. . . . A LEFT person must right LEFT

10 and date his most visible tattoo, give back his Hells Angels paraphernalia and respect the Club and its

11 rules after leaving.” Exhibit 3 at EXPERT-00000232. The rules also state that “[t]he charter must

12 immediately inform the rest of the world about the OUT-persons status, which includes a photo. . . The

13 charter has to ensure that the Out-persons tattoos are covered or removed.” Exhibit 3 at EXPERT-

14 00000233. The Fresno County bylaws also reference covering up tattoos: it requires those who have left

15 the Hells Angels to “[b]lack out tattoos” and include an “out date.” Exhibit 13.

16          116.   I know of instances where “Out” members were beaten of out the HAMC. For example,

17 on March 25, 2016, Aden Stay, HAMC Honolulu president, was violently beaten out of the HAMC for

18 allegedly conducting explicit social media communication with an incarcerated member’s wife. At the

19 behest of HAMC San Diego president Guy Castiglione, Stay and members of the charter were lured to

20 the HAMC San Diego clubhouse, where Stay was violently beaten by an unknown number of HAMC.

21 Stay sustained a concussion and a broken jaw after he was struck with a baseball bat. After Stay had

22 been kicked out of the HAMC, an unknown member of HAMC San Diego direct messaged him via

23 Instagram stating, “Fucking clown. Don’t act like u went out good! U faked it o make it! Best take this

24 pic down! Don’t think we forgot about you! Stunt man! Don’t know shit about loyalty! Respect our

25 Brotherhood! Just another fag writing a book!”

26                                              HAMC Territory

27          117.   On July 1, 1961, the HAMC first expanded beyond the California border by opening an

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 1 HAMC charter in Auckland, New Zealand. Since 1961, the HAMC has officially opened charters on six

 2 of the seven continents.

 3             a. On July 30, 1969, the HAMC expanded into London, England, making it the first charter

 4                 in Europe.

 5             b. On August 23, 1975, the HAMC expanded into Melbourne, Australia.

 6             c. In 1977, the HAMC continued its international expansion into Sorel, Quebec, Canada. In

 7                 Canada, the expansion was met with stiff resistance by the Outlaws OMG, which had

 8                 already established a foothold in Quebec. This expansion led to considerable violence,

 9                 including a number of murders of Outlaws and HAMC members.

10             d. On June 16, 1984, the HAMC opened a charter in Rio de Janeiro, Brazil, creating the first

11                 official footprint in South America.

12             e. On August 14, 1993, it expanded into Johannesburg, South Africa, establishing the first

13                 charter in Africa.

14             f. On September 30, 2006, the HAMC established its first charter in Asia – Moscow,

15                 Russia.

16          118.   HAMC continues to increase expansion efforts, both in the United States and abroad. At

17 present, there are over 500 charters on 6 continents. In the United States, HAMC has 99 charters and

18 approximately 1,000 members and prospects.

19          119.   I know about the Hells Angels expansion because it is documented on their website.

20          120.   As described above, the Hells Angels’ claim to territory has led to violence. I have

21 attached as Exhibit 17 a set of investigative reports, charging documents, and newspaper articles

22 describing violent incidents between the Hells Angels and the Mongols. As explained above, this

23 violence arose from a dispute over territory:

24             a. September 5, 1977 – Two Mongols were killed in San Diego County, California,

25                 returning from their national run.

26             b. September 9, 1977 – A car bomb detonated at the Mongols’ funeral in the mortuary’s

27                 parking lot – no deaths.

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 1       c. September 24, 1977 – A bombing occurred at the Mongols’ machine shop in Los

 2          Angeles, California – two killed.

 3       d. September 30, 1977 – A bombing and attempted murder of a Mongols member occurred

 4          in San Fernando Valley, California.

 5       e. October 11, 1977 – An attempted murder of a Mongols member occurred after a bomb

 6          was discovered under his vehicle in San Diego, California.

 7       f. February 10, 1989 – Aristeo Carbajal, HAMC Berdoo, California, was stabbed and killed

 8          during a melee between the HAMC and Mongols in Long Beach, California.

 9       g. February 22, 2001 – An HAMC member and Mongols member were wounded at the

10          American Legion Hall during a Confederation of Clubs meeting in California. In all, two

11          were shot and four were wounded.

12       h. August 1, 2001– Four HAMC members confronted the Mongols president at his

13          residence in Carson City, Nevada – a fight ensued.

14       i. October 1, 2001 – Approximately seven to eight HAMC members entered a Mongols

15          motorcycle shop in Nevada and accosted an individual and his assistant, both of whom

16          are Mongols members.

17       j. October 26, 2001 – HAMC, Mongols and Vagos individuals were involved in a fight at a

18          motorcycle show in Orange County, California. There were numerous injuries.

19       k. October 27, 2001 – Approximately 20 Mongols lured 5 to 6 HAMC members to a

20          Nevada bar and assaulted them with various weapons. An HAMC bottom rocker was cut

21          off – one arrest.

22       l. April 8, 2002 – A melee occurred inside Harrah's Casino in Laughlin, Nevada, during the

23          20th Annual Laughlin River Run – three dead (1 Mongols and 2 HAMC individuals) and

24          numerous injuries and arrests.

25       m. June 1, 2002 – HAMC and Mongols individuals pulled knives on each other in Reno,

26          Nevada. Reno Police Department intervened before anyone was stabbed.

27       n. July 2, 2002 – Approximately four to five Mongols attacked HAMC Buryl McCune at

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 1          Bruiser’s Iron Horse Saloon in Palm Springs, California. They beat him with knives, fists

 2          and feet.

 3       o. April 26, 2006 – Two Mongols riding their motorcycles on the Las Vegas, Nevada, strip

 4          were attacked at a red light by James “Cornbread” Beard, HAMC Las Vegas.

 5       p. May 4, 2008 – An unknown group of HAMC members attacked a Mongols member as he

 6          walked with his family at the Merced County, California, fair.

 7       q. June 28, 2008 – In Los Banos, California, an HAMC prospect was stabbed during a

 8          confrontation with the Mongols at a Victory Outreach Anti-Gang/Anti-Violence rally.

 9       r. August 2, 2008 – Mark “Papa” Guardado, HAMC San Francisco, was shot and killed in

10          California by Christopher Ablett of the Mongols. Ablett is currently serving a life

11          sentence without parole.

12       s. December 20, 2008 – HAMC Sin City, Nevada, members and prospects accosted two

13          members of the Mongols at a Las Vegas, Nevada, wedding chapel. Numerous HAMC

14          individuals were sentenced.

15       t. June 21, 2008 – Jose Luis Sanchez of the Mongols fired 8 to 10 rounds outside The Echo

16          nightclub in Los Angeles, California, at suspected HAMC members. Three persons were

17          injured. Sanchez was convicted in 2013 (firearm use and street gang act).

18       u. November 6, 2009 – An unknown number of Mongols stabbed and killed an HAMC

19          associate at the Pastime Club in Merced County, California.

20       v. May 1, 2010 – An unknown number of HAMC and support club members assaulted a

21          Mongols member at the Bada Bing Strip Club. One support club member was stabbed.

22       w. September 29, 2010 – Jess Dyckma, HAMC Ventura, California, attempted to kill an

23          unknown Mongols member by kicking him off his motorcycle in Los Angeles County,

24          California. Dyckma was sentenced to 7 years.

25       x. June 15, 2011 – Paul Seifert, HAMC Las Vegas, struck a Mongols Arizona prospect with

26          a beer bottle at a bar in Las Vegas, Nevada.

27       y. August 10, 2011 – A large group of HAMC individuals attacked a small contingent of

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 1          Mongols outside Pee Wee Choppers in Sturgis, South Dakota. Two HAMC suspects were

 2          convicted: George Caruso (Lowell) and Mark Duclos (Fairbanks).

 3       z. January 7, 2012 – An HAMC hang-around attempted to run three Mongols off the road in

 4          Tempe, Arizona. One of the Mongols shot and injured the hang-around.

 5       aa. March 22, 2014 – HAMC and Mongols were involved in a melee on Interstate 15 (I-15)

 6          in Temecula, California. Saucedo, HAMC Riverside County, was stabbed.

 7       bb. August 20, 2014 – HAMC and Red Devils assaulted a member of the Mongols in a

 8          Raleigh, North Carolina, bar.

 9       cc. September 12, 2014 – A shootout occurred between HAMC and Mongols at a Reno,

10          Nevada, bar – no injuries.

11       dd. September 20, 2014 – One Mongols supporter was killed after an unknown number of

12          HAMC individuals shot at their pack on southbound I-15 near Corona, California.

13       ee. February 7, 2015 – Patrick Eberhardt, HAMC Cave Creek, Arizona, was shot off his

14          motorcycle by an unknown assailant in a vehicle in Phoenix, Arizona. One killed –

15          Mongols are suspects.

16       ff. February 7, 2015 – HAMC shot at a pack of 15 Mongols in Phoenix, Arizona.

17       gg. April 19, 2015 – An HAMC Nomads, Washington, hang-around was shot and wounded

18          outside the HAMC clubhouse. Mongols are suspected of the shooting.

19       hh. June 17, 2015 – Four Orange County Mongols assaulted a lone HAMC supporter at the

20          Off Limits Bar in Anaheim, California

21       ii. September 4, 2015 – An unknown number of HAMC and Mongols were involved in a

22          melee at the Boot Grill in Loveland, Colorado.

23       jj. September 24, 2015 – Justin Bovender, Mongols Richmond, Virginia, violently assaulted

24          a civilian wearing an HAMC support shirt in Richmond.

25       kk. January 26, 2016 – Jonathan Smith, HAMC Bakersfield, California, and Mike

26          Blackwood of the Mongols were involved in an assault at a Bakersfield intersection –

27          Blackwood was stabbed.

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 1       ll. April 8, 2016 – An unknown number of HAMC and Mongols were involved in a melee at

 2          the Valk Hotel in Rotterdam, Netherlands – 23 arrested.

 3       mm.       May 25, 2016 – Two HAMC Fayetteville, North Carolina, members and four

 4          associates violently assaulted two Mongols at a Hooters in Fayetteville. Two were

 5          charged, and three are pending trial.

 6       nn. June 12, 2016 – Rick Hoernke, HAMC Berdoo, California, was shot in the leg at the

 7          Wooden Nickel Bar. Prior to the shooting, a Mongols prospect was shot and accosted.

 8       oo. August 17, 2016 – A shootout occurred between the HAMC and Mongols at the Final

 9          Sports Bar & Grille in Tempe, Arizona. The Mongols president, Richard Garcia, was

10          killed. Wayne Whitt, HAMC Mesa, was cleared on self-defense grounds.

11       pp. August 28, 2016 – An HAMC member and prospect shot and wounded a member of the

12          Mongols and 69’ers in Nassau County, New York. HAMC dons a Filthy Few patch.

13       qq. September 2016 – A group of HAMC assaulted two Mongols in Spokane, Washington.

14       rr. November 19, 2016 – An HAMC supporter was battered by a pack of Mongols in Las

15          Vegas, Nevada. They stole his support shirt and conducted a strong-armed robbery.

16       ss. December 4, 2016 – HAMC Southern California prospect Aaron Vecchiarelli was shot

17          while riding his motorcycle on the eastbound 91 freeway. Simultaneously, a member of

18          the Mongols Fullerton, California, was reportedly stabbed.

19       tt. March 31, 2017 – Aaron Vecchiarelli, HAMC Southern California, and prospect Anthony

20          Casio conducted a drive-by shooting at the motorcycle shop of John “Dutch” Vanderpyle,

21          Mongols Harbor, in Anaheim, California.

22       uu. May 21, 2017 – Joshua Herbert, Mongols Commerce, California, shot and killed HAMC

23          Southern California prospect Jason Duty at a gas station. A second prospect was

24          wounded. Trial pending.

25       vv. August 18, 2017 – A shooting transpired between the HAMC and Mongols on Highway

26          395 near Richland, Washington. One HAMC was injured, five arrested.

27       ww.       March 7, 2018 – A melee occurred at the Native Bar & Grille in Mesa, Arizona,

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 1                 between the Mongols and HAMC. Numerous Mongols were arrested – trial pending.

 2             xx. May 5, 2018 – Mongols and HAMC were involved in a shooting during an HAMC event

 3                 in Bakersfield, California. One of the Mongols was killed, and an HAMC associate was

 4                 cleared on self-defense – trial pending.

 5             yy. May 12, 2018 – An HAMC Nomads, Washington, individual was assaulted by an

 6                 unknown number of Idaho Mongols.

 7             zz. May 14, 2018 – Kaleb Mohr, HAMC Nomads, Washington, and Terry Ivie, Mongols,

 8                 Snake River, were involved in a shooting in Pocatello, Idaho. There were minor injuries.

 9             aaa.        July 6, 2018 – Two Utah Mongols were shot on Freeway 210 in San Bernardino,

10                 California. One was killed, and one was injured. HAMC was suspected, not confirmed.

11             bbb.        July 22, 2018 – An HAMC supporter and a former HAMC support club (801)

12                 prospect, “Cowboy,” were assaulted in Newport Beach, California, by the Mongols.

13             ccc.        August 25, 2018 – Steven Helland, HAMC Nomads Arizona, and prospect

14                 Michael Higuela were attacked by two Mongols at the Laughlin, Nevada, Riverside

15                 Casino.

16          121.   HAMC and Vagos: Similar to the Mongols, the HAMC was angry that the Vagos wore a

17 California bottom rocker. Since the mid-1980s, they have been involved in violent and deadly

18 confrontations. Many of their clashes stemmed from the Vagos expanding into the HAMC’s territory. I

19 have attached as Exhibit 18 a set of newspaper articles describing some of these incidents:

20             a. On August 21, 2010, fearing expansion by the Vagos in Arizona, the adversaries

21                 exchanged approximately 50 rounds during a gun battle in Chino Valley, Arizona. During

22                 the shootout, Kevin Christensen, HAMC Yavapai County, was injured.

23             b. On June 4, 2011, four members of the HAMC Sonoma County, California, charter

24                 assaulted a Vagos member as he was departing a tattoo convention at the Konocti Vista

25                 Casino.

26             c. On September 23, 2011, a shootout transpired between the two at the John Ascuaga’s

27                 Nugget Casino during the annual Street Vibrations Fall Rally. During the melee, the

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 1                 HAMC exchanged shots with the Vagos. Several HAMC San Jose, California, associates

 2                 were brutally assaulted, while their president, Jeffrey Pettigrew, was shot and killed by a

 3                 member of the Vagos. The next day, an unknown member of the HAMC shot and

 4                 wounded a member of the Vagos in Reno, Nevada.

 5             d. On May 10, 2014, Paul Gibson, HAMC Oahu, Hawaii, stabbed David Coombes,

 6                 formerly of Vagos, 12 times near James Kealoha Beach Park, Hawaii. During the

 7                 stabbing, Gibson was a prospect. Gibson also pointed a handgun at the victim’s wife.

 8             e. On September 14, 2016, Francisco “Cisco” Fernandez, HAMC North, shot and wounded

 9                 the president of the Green Machine, a Vagos support club, after he rode past his business

10                 in Yuba, California. One month prior, Fernandez was involved in a shooting with a

11                 civilian during a road-rage incident.

12             f. On September 20, 2014, HAMC members confronted a group of Vagos and Wanted

13                 OMG, which is comprised of Norteños gang members, during an apparent meeting. The

14                 gangs exchanged gunfire, and two HAMC members were wounded.

15             g. On January 17, 2015, a group of HAMC members and prospects from an assortment of

16                 Northern California charters violently assaulted two Vagos during the Easy Rider Show

17                 in Sacramento, California.

18          122.   The HAMC has also been involved in violent confrontations with the Outlaws, Pagan’s,

19 and Banditos OMGs over territory. I have attached as Exhibit 19 a set of investigative reports and

20 newspaper articles describing some of these incidents.

21

22 I declare the foregoing is true and correct to the best of my knowledge.

23

24 Dated: June 29, 2020                                                 /s/ Jeremy Scheetz__________

25                                                                      Jeremy Scheetz
                                                                        Intelligence Operations Specialist
26                                                                      Bureau of Alcohol, Firearms,
                                                                        Tobacco, and Explosives
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